                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES,                                   :
                                                 :            CRIMINAL ACTION
       v.                                        :
                                                 :            No. 09-60-04
DEVON BRINKLEY                                   :


                                        MEMORANDUM

Schiller, J.                                                                 August 20, 2021

       Before the Court is Devon Brinkley’s motion for reduction in sentence pursuant to 18

U.S.C. 3582(c)(1)(A). For the reasons that follow, the motion is granted. Defendant’s sentence is

reduced from 1,285 months’ imprisonment to 240 months’ imprisonment, to be followed by five

years of supervised release.

I.     FACTUAL BACKGROUND

       Over a nine-day period in October of 2008, when he was 21 years old, Brinkley participated

in a series of armed robberies in and around the city of Philadelphia. The targets of these robberies

included three Dunkin’ Donuts shops, a McDonald’s restaurant, and a Pizza Hut. In total, the

robberies resulted in a loss of less than $20,000. The robbers left Pizza Hut without successfully

stealing any money. While the use of firearms in the commission of these robberies made them

particularly terrifying for the victims, none of the robberies resulted in serious physical injury to

anyone. Brinkley was indicted, along with five co-defendants, and charged with one count of

conspiracy to commit Hobbs Act robbery; five counts of aiding and abetting Hobbs Act robbery

in violation of 18 U.S.C. § 1951(a); and five counts of carrying / using a firearm in relation to a

crime of violence, aiding and abetting, in violation of 18 U.S.C. § 924(c)(1). Four of Brinkley’s

five co-defendants pleaded guilty.




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       Brinkley and one co-defendant proceeded to trial on September 22, 2010. That trial resulted

in the acquittal of Brinkley’s co-defendant and a hung jury as to Brinkley. Brinkley proceeded to

trial a second time on March 1, 2011, resulting in a second hung jury. Brinkley proceeded to trial

for a third time on May 10, 2011. On May 12, 2011, the third jury convicted Brinkley on all

charges.

       In August of 2011, at the time of Brinkley’s sentencing, each conviction under § 924(c)

was subject to a mandatory minimum sentence, which could not run concurrently to any other

sentence. Thus, because it determined that a firearm was brandished in the commission of the

offenses, the Court imposed a mandatory minimum sentence of 1,284 months’ (107 years)

imprisonment, total, on the five 924(c) counts—7 years on the first count and 25 years each on the

other four.1 The Court imposed a sentence of one month imprisonment on each of the other counts,

to run concurrently to each other, for a total sentence of 1,285 months’ imprisonment. Brinkley is

expected to be released on June 29, 2105. He is currently 34 years old. He would be 118 years old

in 2105.

       On December 21, 2018, Congress passed the First Step Act (FSA). Two sections of the Act

are particularly relevant to the Court’s decision here: Section 403 and Section 603(b). Prior to

passage of the First Step Act, only the Director of the Bureau of Prisons could bring a motion for

compassionate release on behalf of a federal inmate. See 18 U.S.C. § 3582(c)(1)(A) (2012). The

FSA, in a section titled “Increasing The Use And Transparency Of Compassionate Release,”


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        At sentencing, the Court found that Brinkley brandished a firearm in connection with his
first § 924(c) count, which required the Court to impose a seven-year sentence on that count.
However, after Brinkley’s sentencing, the Supreme Court held that a fact that increases a
mandatory minimum sentence is an “element”, which must be submitted to the jury. Alleyne v.
United States, 570 U.S. 99, 133 S.Ct. 2151, 186 L.Ed.2d 314 (2013). Thus, because the Court and
not the jury specifically found that Brinkley brandished a firearm, he would have been sentenced
to only five years on each § 924(c) count. See United States v. Ezell, -- F. Supp. 3d --, 2021 WL
510293, n.5 (E.D. Pa. Feb. 11, 2021).


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amended the requirements to allow a federal defendant to bring a motion on his or her own behalf.

§ 603(b). Additionally, pursuant to Section 403, Congress amended 18 U.S.C. § 924(c) to provide

that a mandatory consecutive 25-year sentence for successive § 924(c) convictions does not apply

unless the defendant had a previous, final conviction under § 924(c). See § 403.

        Defendant argues that this change in sentencing law, and the enormous disparity between

the sentence he is serving and what he would receive today, in combination with his youth at the

time of the offense, the disparity between his sentence and his co-defendants’ sentences, and his

subsequent rehabilitation, constitute extraordinary and compelling reasons to reduce his sentence

under 18 U.S.C. 3582(c)(1)(A). The Government disagrees with Defendant’s calculation of the

mandatory minimum sentence to which he would be subject under the law as it stands today; but

it is undisputed that the sentence he is serving is at least 70 years longer than what would be

imposed today. Still, the Government argues that “these circumstances as a matter of law do not

by themselves allow relief under Section 3582(c)(1)(A)(i).” (Gov’t Resp. in Opp’n to Def.’s Mot.

for Reduction in Sent. [Gov’t Opp’n] at 6.) The Court disagrees.

II.     DISCUSSION

        A.      “Compassionate Release”2 Statute

        Upon a motion of the defendant, the district court “may reduce [a federal inmate’s] term of

imprisonment” and “impose a term of probation or supervised release . . . if it finds that . . .

extraordinary and compelling reasons warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A)(i).

Before filing a motion for compassionate release, the defendant must exhaust administrative rights

to appeal with the BOP or thirty days must have passed since the submission of a request to the



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          18 U.S.C. 3582(c)(1)(A) is often referred to as the compassionate release statute. However,
its title refers to a “reduction in sentence”, and the statute does not limit the Court’s power to grant
such a reduction to instances in which it would result in the defendant’s immediate release.


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warden, whichever is earlier. Id. § 3582(c)(1)(A).3 Prior to granting a sentence reduction, a district

court must also “consider[] the factors set forth in section 3553(a) to the extent that they are

applicable.” Id. Finally, any reduction in sentence must be “consistent with applicable policy

statements issued by the Sentencing Commission.” Id. § 3582(c)(1)(A)(ii).

       The Sentencing Commission adopted a policy statement regarding extraordinary and

compelling reasons to warrant reduction of a sentence “[u]pon motion of the Director of the Bureau

of Prisons[.]” U.S.S.G. § 1B1.13. Since passage of the First Step Act, the Sentencing Commission

has not adopted a new policy statement to address defendant-filed motions for compassionate

release. Rodriguez, 451 F. Supp. 3d at 397 (E.D. Pa. 2020). As a result, currently, there is no policy

statement of the Sentencing Commission applicable to motions for compassionate release filed by

defendants. Id. at 398 (quoting United States v. Beck, 425 F. Supp. 3d 573, 579 (M.D.N.C. 2019)).

       B.      Extraordinary and Compelling Reasons

       In the absence of an applicable policy statement from the Sentencing Commission, the

district court has discretion to determine what circumstances constitute extraordinary and

compelling reasons for a reduction of sentence. United States v. McCoy, 981 F.3d 271, 284 (4th

Cir. 2020); United States v. Jones, 980 F.3d 1098, 1111 (6th Cir. 2020); United States v. Gunn,

980 F.3d 1178, 1180 (7th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237 (2d Cir. 2020);

Rodriguez, 451 F. Supp. 3d at 400 (E.D. Pa. 2020). District courts “are not hamstringed because

the Sentencing Commission has failed to update the pertinent guidance.” United States v. Adeyemi,

470 F. Supp. 3d 489, 510 (E.D. Pa. 2020) (citing United States v. Dixon, 648 F.3d 195, 200-01 (3d

Cir. 2011)).


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       Defendant reports submitting a request to the Warden of his facility on February 16, 2021,
but “has been unable to obtain a copy of the original request from prison officials.” (Def.’s Mot.
for Reduction in Sentence at n1.) The Government did not address this issue, therefore the Court
considers Defendant’s administrative remedies exhausted.


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       The commentary to the policy statement pertaining to compassionate release motions

brought by the Director of the BOP describes extraordinary and compelling reasons to release

certain defendants, including those who are terminally ill, aging, or experience the death or

incapacitation of a spouse or caregiver to their minor child. U.S.S.G. § 1B1.13 cmt. n1(A)-(C).

The outdated policy statement also contemplates the possibility of the Director approving a request

due to “an extraordinary and compelling reason, other than, or in combination with, the reasons

described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13 cmt. n1(D).

       The Government disagrees with this Court’s determination that the Sentencing

Commission’s policy statement is not binding on courts considering a motion for reduction in

sentence filed by the defendant. Even if the Commission’s definition of extraordinary and

compelling is not controlling, the Government “insist[s] that a change in sentencing law, that

Congress expressly declared non-retroactive . . . cannot suffice.” (Gov’t Resp. in Opp’n to Def.’s

Mot. for Reduction of Sent. at 14.) Citing United States v. Andrews, 480 F. Supp. 3d 669 (E.D.

Pa. Aug. 19, 2020), the Government argues § 403 was not applied retroactively by Congress,

therefore, the length of a defendant’s sentence cannot, by itself or in combination with other

sentencing considerations, “qualify as an extraordinary and compelling reason to grant

compassionate release because this would infringe on the legislature’s province to fix penalties.”

(Gov’t Opp’n at 15.) (internal quotation marks omitted). The Court is not persuaded.

       The Court agrees with the well-reasoned opinion of Judge DuBois in United States v. Ezell,

-- F. Supp. 3d --, 2021 WL 510293 (E.D. Pa. Feb. 11, 2021).

       In declining to give § 403 retroactive effect, Congress did not express a broad intent
       to foreclose other avenues of relief to the class of defendants sentenced under the
       pre-First Step Act § 924(c). Nor did it instruct courts to refrain from exercising their
       authority under § 3582(C)(1)(A) if, in so doing, they might coincidentally produce
       a result consistent with the retroactive application of § 403.




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Id. at *5.

The Fourth Circuit agrees, having opined “there is a significant difference between automatic

vacatur … of an entire class of sentences … and allowing for the provision of individual relief in

the most grievous cases.” United States v. McCoy, 981 F. 3d 271, 286-7 (4th Cir. 2020). The only

express Congressional limitation on a district court’s power to modify a sentence for extraordinary

and compelling reasons is that rehabilitation alone “shall not be considered an extraordinary and

compelling reason.” 28 U.S.C. § 994. This Court will not restrict people’s possibility of relief from

extreme sentences by reading restrictive intent into provisions of a law drafted to reduce extreme

sentences and increase the use of compassionate release.4

        This Court considers the disparity of at least seventy (70) years, between Brinkley’s

sentence and the sentence he would receive today to be a compelling justification for a reduction

of his sentence. Indeed, if such disparities are so ubiquitous that the Government considers them

ordinary, the Court might be all the more compelled. Having concluded that Brinkley’s sentence

is unduly harsh and excessive, the Court will determine whether, in combination with the other

factors he has identified, Defendant has presented extraordinary and compelling reasons to justify

a reduction in sentence.

        Brinkley argues, and his PSR confirms, “[h]e committed these offenses at [a] young age,

after an extraordinarily difficult childhood in which he was physically abused by his stepfather,



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       It is notable that the Director of the Bureau of Prisons, in response to questions from
Senators Brian Schatz and Mike Lee, reported that throughout the COVID-19 pandemic, nearly
31,000 federal inmates requested sentence reductions under § 3582(c)(1)(A). Of those 31,000,
Wardens recommended granting fewer than 400. Of the 374 requests that Wardens recommended
granting, the Director approved only 36. In 2019, before the pandemic, fewer than 2,000 requests
were made and the Director approved more than 50. Federal judges granted 3,221 compassionate
release motions during the pandemic. See Director’s Letter, available at
www.schatz.senate.gov/imo/media/doc/Response%20from%20BOP%20re.%20compassioante%
20release%20during%20COVID%204.16.21.pdf. (last visited Aug. 19, 2021).


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abandoned by his biological father, and neglected by his mother, who was overwhelmed with nine

children.” (Def.’s Mot. for Reduction in Sent. at 18.) Brinkley submitted a supplemental exhibit to

his motion in the form of a letter to the Court in which he expressed great remorse for the suffering

he imposed on the victims in this case and a commitment to bettering himself while incarcerated.

(See Supplemental Exhibit, ECF 398.) His letter states that prior to his incarceration, he could not

read or write, having dropped out of school at 12 when he ran away from an abusive household.

He acknowledges that his upbringing is not an excuse for his crimes. (Id.) However, the Court

considers all of this relevant to its analysis.

        During his time in prison, Brinkley has participated in numerous programs, both

educational and vocational, as well as programs focused on personal growth. His disciplinary

history is minimal, with the most recent incident having taken place more than five years ago. The

Court agrees that “[o]verall, Brinkley’s efforts reflect that he has been focused on self-

improvement and making a positive contribution to society, even though he had no expectation of

being released from prison.” (Def.’s Mot. for Reduction in Sent. at 18.) The Government

characterizes many of Brinkley’s achievements in prison differently than he does, but it does not

dispute that he consistently receives “outstanding” work reports and “is considered extremely

hardworking and dependable.” (Id.) Considering all of these factors, the Court finds Brinkley has

presented extraordinary and compelling reasons for a reduction of his sentence.

        C.      Consistency with Sentencing Considerations

        Finally, the Court must consider whether a sentence reduction is appropriate in light of the

Section 3553(a) factors. The relevant factors include the nature and circumstances of the offense;

the defendant’s history and characteristics; the need for the sentence to reflect the seriousness of

the offense, promote respect for law, provide just punishment, provide adequate deterrence, protect




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the public from further crimes, and provide the defendant with needed correctional treatment in

the most effective manner; and the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct. 18 U.S.C. §

3553(a)(1-2,6). This determination is left to the discretion of the district court. United States v.

Pawlowski, 967 F.3d 327, 330 (3d Cir. 2020).

       Here, the factors weigh in favor of granting Defendant’s motion in the manner outlined

below. As discussed above, the nature and circumstances of the crimes were serious, however,

“the Court doubts any reasonable person would suggest they are deserving of a sentence 5 times

the length of the average sentence for murder.” United States v. Haynes, Crim. A. No. 96-40034,

2021 WL 406595, *6 (C.D. Ill. Feb. 5, 2021)(noting in 2019, the average sentence for someone

convicted of murder in the U.S. was approximately 21 years’ incarceration). Defendant points out

that of his four co-defendants who pleaded guilty, none received a sentence higher than 240

months’ imprisonment. “In fact, the combined sentences of Brinkley’s co-defendants comes out

to 676 months, or a little more than half of Brinkley’s 1,285-month term.” (Def.’s Mot. at 18.)

Thus, granting the motion avoids unwarranted sentence disparities while still affording adequate

deterrence and promoting respect for the law.

III.   CONCLUSION

       For the foregoing reasons, Devon Brinkley’s Motion for Reduction in Sentence under 18

U.S.C. § 3582(c)(1)(A)(i) is granted. Brinkley’s sentence is reduced to 240 months’ imprisonment,

to be followed by five years of supervised release. An Order consistent with this Memorandum

will be docketed separately.




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